     Case 1:07-cr-00014-WTH-GRJ           Document 303       Filed 10/20/08      Page 1 of 1


                                                                                         Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:07-cr-00014-MP-AK

CHEREE PLATE,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 302, Motion for Medical Treatment by Cheree

Plate. Specifically, Ms. Plate, who is in her second trimester of pregnancy, seeks medical exams

by an OBGYN physician. The United States Marshals Service is directed to immediately inquire

into this request and take appropriate action. The United States Marshals Service shall report

back to the undersigned by Friday, October 24, 2008.


       DONE AND ORDERED this 20th day of October, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
